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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

UNITED STATES OF AMERICA

v.                                                           Case No.: 8:08-CR-0450-T-33EAJ

CARL BLAIR,
GEORGE AUGUSTUS,
DENEIL TENASHEL CAMPBELL, and
ANTONIO MAURICE MCCLAIN
______________________________________/

                             REPORT AND RECOMMENDATION

       Before the court are Defendant George Augustus’ Motion to Suppress Statements and

Request for Evidentiary Hearing (Dkt. 58) and the Government’s Response (Dkt. 65). An

evidentiary hearing and oral argument have been held. For the reasons stated herein, I recommend

that the motion to suppress be granted.

                                          Findings of Fact

       The following facts are established by a preponderance of credible evidence:

1.     Defendant is a 25-year-old Jamaican citizen. Prior to September 17, 2008, Defendant was

       convicted in Florida of misdemeanor possession of marijuana and spent thirty (30) days in

       the Polk County Jail. He has no physical or mental infirmities.

2.     On September 17, 2008 at approximately 1:40 p.m., Defendant was arrested in Polk County,

       Florida for federal offenses and transported to a Polk County Sheriff’s Office substation.

3.     Between 2:30 and 3:00 p.m., Special Agent Michael Coad (“Agent Coad”) with the Bureau

       of Alcohol, Tobacco, and Firearms (“ATF”) began interviewing Defendant in English.1

4.     At all times during the interview, Defendant’s hands were cuffed behind his back by a “flex

       1
           The interview was videotaped, however, Agent Coad testified he was unaware of this fact.
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       cuff” device.

5.     For the first several minutes of the interview, Agent Coad obtained routine information from

       Defendant, such as Defendant’s age, birth date, and county of origin, which Agent Coad then

       transcribed onto a financial affidavit form (Defendant’s Ex. 1). These forms were furnished

       by the U.S. Marshal to Agent Coad for booking purposes.

6.     Approximately eight minutes into the interview, Agent Coad informed Defendant that the

       form “means you don’t have any money in the bank.” Defendant shifted his hands to his

       right side, and signed the financial affidavit form without reading it.2

7.     Agent Coad then asked Defendant if he could “read and write.” Defendant replied “What?”

       Once Agent Coad repeated the question, Defendant replied “Yea” and shook his head

       affirmatively.

8.     Agent Coad presented a “Miranda waiver form” (Government’s Ex. 1) to Defendant and read

       aloud the contents of the form, which included a statement of Miranda rights.

9.     The following exchange then took place:

       Agent Coad: We’re going to have you sign here and print your name here if you
                   want to talk to me. If you want a lawyer that is your right. You can
                   wait to talk to a lawyer before you talk to me. Okay. The choice is
                   yours.

       Defendant:       So what if I talk to you? What’s the charge and all of that?

       Agent Coad: You are being arrested for conspiracy to traffic in cocaine, okay, and
                   you’re also being arrested for armed narcotics trafficking.


       2
          Although the title of the form is “Financial Affidavit In Support Of Request for Attorney,
Expert, or Other Court Services Without Payment,” the court does not construe Defendant’s signing
of the form as a request for counsel because Defendant did not read the form before or after signing
it. Further, Agent Coad’s unrebutted testimony indicates that this is a form required by the U.S.
Marshal prior to producing a defendant in court.

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       Defendant:      Conspiracy to traffic cocaine . . .

       Agent Coad: Yes.

       Defendant:      . . . and conspiracy for what?

       Agent Coad:     And conspiracy to traffic in cocaine, trafficking in cocaine, and armed
                       narcotics trafficking.

       Defendant:      What’s that?

       Agent Coad: Because you guys had a gun. Okay? Those are the charges that are
                   going to be against you. Okay?3

       Defendant:      How much . . . how long will I gonna do in jail?

       Agent Coad: Well those are minimum mandatories, I don’t know what your
                   criminal history is but it’s a serious offense and its probably upwards
                   of fifteen years in federal prison. Okay. Now I need to know if you
                   want to talk to me and you want to answer questions about this case
                   and what’s going on and what’s happening. And if you want some
                   consideration for your information, like I can tell the prosecutor, hey
                   you were straightforward, you gave up everything, you told me about
                   this, you told me about that, you told me about this. You know dude
                   everything you said was on tape . . . everything . . . the case is done,
                   you’re done. Now we just gotta worry about saving your ass. And if
                   you want to do the time, dude tell me you want to talk to a lawyer and
                   I’ll do this thing. That’s fine.

       Defendant:      I don’t want to do no time man.

       Agent Coad: I’m telling you man, if you want to do less time, talk to me and we
                   will see what is going on and we will go from there.

       Defendant:      I want to talk to you.4




       3
        At this point, an individual identified at the hearing as Hillsborough County Sheriff’s Office
Detective R.J. Lazzara (“Detective Lazzara”) entered the room.
       4
        Immediately after this exchange, Special Agent Hanes (“Agent Hanes”) with Immigration
and Customs Enforcement (“ICE”) entered the room.

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10.    Agent Coad printed Defendant’s name on the Miranda waiver form and Defendant, with his

       hands cuffed behind his back, signed his name on the form. Agent Coad and Detective

       Lazzara immediately signed the form as witnesses and Detective Lazzara left the room.

11.    Defendant then made several incriminating statements to Agent Coad. Among other things,

       Defendant confessed to his participation in events earlier that day involving cocaine and a

       gun.

12.    At approximately 2:50 to 3:20 p.m., Agent Coad concluded his twenty-one minute interview

       of Defendant. No firearms were displayed at any time during the interview.5

13.    Immediately following Agent Coad’s interview, Agent Hanes interviewed Defendant.

14.    Subsequently, a detective with the Polk County Sheriff’s Office interviewed Defendant.

15.    Audio and video recordings were made of each interview (Government’s Ex. 2).

16.    All three interviews were concluded by 5:00 p.m. that day.

17.    The next day, September 18, 2008, at 12:05 p.m., Honorable Mary S. Scriven, U.S.

       Magistrate Judge, signed a criminal complaint in this matter charging defendant with one

       federal felony charge (Dkt. 1).

18.    Later that day, at approximately 2:30 p.m., Defendant appeared before Judge Scriven and

       was appointed counsel (Dkt. 2).

                                         Conclusions of Law

       Defendant asserts that any waiver of Miranda rights during his interview with Agent Coad

was invalid because 1) the Miranda waiver form was in English but Defendant’s “native language”


       5
         Although Defendant asserts in his motion that law enforcement displayed weapons or
firearms, no evidence was presented at the hearing supporting this assertion. At most, Agent Coad
wore a firearm in an ankle holster which would not have been visible to Defendant.

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is Jamaican; 2) Defendant lacked “cultural knowledge” of his Miranda rights; 3) Agent Coad implied

that Defendant would spend less time in jail if Defendant spoke with Agent Coad without requesting

a lawyer; 4) law enforcement displayed various weapons and firearms before and during the

interview; and 5) Defendant was handcuffed and shackled when he signed the waiver form. The

Government responds that Defendant’s age, education, familiarity with the criminal justice system,

demeanor during the interview, ability to communicate with Agent Coad in English, and manifested

awareness of his Miranda rights reflect that he knowingly and voluntarily waived those rights.

I. Waiver of Miranda Rights

        Before questioning a person who has been taken into police custody, law enforcement must

inform the person of 1) the right to remain silent, 2) the possibility that the person’s statements could

later be used as evidence, and 3) the right to the presence of retained or appointed counsel. Miranda

v. Arizona, 384 U.S. 436, 444 (1966).

        Nonetheless, a defendant “may waive effectuation of these rights, provided the waiver is

made voluntarily, knowingly and intelligently.”         Id. at 444. An express written waiver of

Miranda rights “is usually strong proof of the validity of that waiver, but is not inevitably either

necessary or sufficient to establish waiver.” North Carolina v. Butler, 441 U.S. 369, 373 (1979).

Rather, in assessing the validity of such a waiver, a court must undertake the following two-part

inquiry:

        First, the relinquishment of the right must have been voluntary in the sense that it was
        the product of a free and deliberate choice rather than intimidation, coercion, or
        deception. Second, the waiver must have been made with a full awareness of both the
        nature of the right being abandoned and the consequences of the decision to abandon
        it. Only if the “totality of the circumstances surrounding the interrogation” reveal
        both an uncoerced choice and the requisite level of comprehension may a court
        properly conclude that the Miranda rights have been waived.


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 Moran v. Burbine, 475 U.S. 412, 421 (1986) (citations omitted); see also Arizona v. Fulminante,

499 U.S. 279, 286 & n.2 (1991) (identifying some of the factors a court may consider in analyzing

the totality of the circumstances, including a defendant’s age, education, and intelligence). The

prosecution must establish the defendant’s waiver of Miranda rights by a preponderance of the

evidence. Colorado v. Connelly, 479 U.S. 157, 168 (1986).

       There is no dispute that Defendant was in custody at the time he was interviewed by Agent

Coad and that Agent Coad properly read Defendant his Miranda rights from the Miranda waiver

form which Defendant subsequently signed. Defendant nonetheless insists that the totality of

circumstances surrounding the interview undermines the validity of his waiver.6

       Defendant first contends that as a native Jamaican he was unable to comprehend Agent

Coad’s “American” English. Yet when Agent Coad asked Defendant if he could read and write,

Defendant responded affirmatively in English. Defendant engaged in a lengthy conversation with

Agent Coad in English covering Defendant’s personal information, his Miranda rights, and his

participation in the events leading to his arrest. Moreover, Defendant never asked for an interpreter

and the record does not suggest interpretation was ever necessary.7

       Defendant’s contention that his cultural background inhibited appreciation of his Miranda



       6
         Defendant did not testify at the suppression hearing. However, the burden of establishing
a valid waiver remains the Government’s and the court must apply an objective standard.
       7
         Accordingly, Defendant’s purported difficulties with “American” English are exaggerated
and did not preclude him from comprehending his Miranda rights. See United States v. Longoria,
229 F. App’x 885, 888 (11th Cir. 2007) (per curiam) (finding defendant waived Miranda rights
despite alleged inability to understand English where defendant spoke fluent English in
conversations with law enforcement and never requested or needed an interpreter); United States v.
Briscoe, 69 F. Supp. 2d 738, 742 (D. V.I. 1999) (finding Jamaican defendant effectively waived his
Miranda rights despite alleged difficulty comprehending “American” English).

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is also without merit. At the time of his arrest, Defendant had lived in the United States for

approximately eight years, where he was arrested at least one time prior to his arrest in this case.

Defendant manifested no confusion as to the nature of his rights and sought no clarification at the

time they were read to him. See e.g. United States v. Glover, 431 F.3d 744, 748 (11th Cir. 2005)

(per curiam) (approving district court’s finding of waiver where defendant “interacted normally and

intelligently with the arresting agents and . . . was familiar with the criminal justice system”);

see also United States v. Adem, 18 F. App’x 512, 513 (9th Cir. 2001) (per curiam) (finding Miranda

waiver valid despite defendant’s alleged difficulties due to cultural background and difficulties with

English language where defendant conversed with law enforcement in English, did not request an

interpreter, and appeared to understand his rights); United States v. Su, No. 97 CR. 319(MBM), 1997

WL 695655, at *7 (S.D. N.Y. Nov. 6, 1997) (noting the law does not require Miranda warnings be

tailored to a defendant’s cultural background and country of origin).

       However, Agent Coad’s statements prior to Defendant’s waiving his rights about the benefits

of talking with the agent were misleading and contradicted the Miranda warnings. Although

Defendant was informed that any statements he made could be used against him as evidence in the

future, less than two minutes later during the interview Agent Coad suggested that Defendant should

talk if he hoped to “do less time.” Moreover, although Agent Coad informed Defendant of his right

to the presence of counsel, Agent Coad also indicated that requesting a lawyer would be equivalent

to expressing a desire to “do the time.”

       In United States v. Quinn, 123 F.3d 1415 (11th Cir. 1997), the defendant claimed his

Miranda waiver was invalid because law enforcement discouraged the defendant from asserting his

rights. Defendant testified that he was told “cooperation” could lead to a lesser sentence and that


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“it would be difficult to cooperate once an attorney had been appointed.” Id. at 1423-24.         By

contrast, the government maintained that it “‘simply advised [the defendant] of the consequences

that could flow from delaying any attempt at cooperation.’” Id. at 1424. The Eleventh Circuit

affirmed the district court’s conclusion that the Miranda waiver was valid, reasoning that the

defendant was adequately advised of his rights when law enforcement read them to him. Id. The

court pointed out that the issue of the defendant’s potential sentence was initially raised by the

defendant and that the agent’s estimate of the defendant’s sentence was realistic. Id. Further, the

defendant’s testimony that he was threatened was not entirely credible. Id. Finally, the court

emphasized that any inculpatory statements were made before law enforcement discouraged the

defendant from requesting counsel. Id.

       In contrast, in Hart v. Attorney General of Fla., 323 F.3d 884 (11th Cir. 2003), the Eleventh

Circuit held that misleading statements as to the nature of Miranda rights can in some cases void a

waiver of those rights. There, after the defendant signed a Miranda waiver form, he asked to speak

to a detective who he trusted and inquired of her as to the “pros and cons” of asserting his right to

counsel. Id. at 894. The detective responded that a lawyer would protect the defendant’s rights,

would tell him whether or not to answer questions, and would generally be there to assist. Id.

However, the detective also warned the defendant that the “con” of requesting counsel was “‘I’m

going to want to ask you questions and he’s going to tell you you can’t answer me.’” Id. As noted

by the Eleventh Circuit, “[t]he reason for requiring a lawyer during custodial interrogation is to

protect a suspect's privilege against self incrimination, yet, [the detective] in effect told [the

defendant] that this was the disadvantage of having a lawyer.” Id.

       In Hart, the detective’s statements regarding the pro and cons of requesting counsel were


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supplemented by another problematic assertion concerning the right to remain silent. Specifically,

the detective informed the defendant that “‘honesty wouldn’t hurt him’” which the court found

“simply not compatible with the phrase ‘anything you say can be used against you in court.’” Id.

Rather, “[t]he former suggested to [the defendant] that an incriminating statement would not have

detrimental consequences while the latter suggested (correctly) that an incriminating statement would

be presented at his trial as evidence of his guilt.” Id. The Eleventh Circuit concluded that the totality

of the circumstances proved that the defendant’s waiver of his Miranda rights was not voluntary,

knowing, and intelligent because the defendant trusted the detective who in turn offered conflicting

statements as to the nature of Miranda rights. Id. at 895. Although the defendant was properly

advised of his Miranda rights, the detective’s subsequent statements confused the nature of those

rights and undermined the validity of the waiver. See also United States v. Beale, 921 F.2d 1412,

1435 (11th Cir. 1991) (finding district court erred in admitting statement where law enforcement told

defendant that signing Miranda waiver “would not hurt him” because this contradicted warning that

defendant’s statements could be used against him).

        Here, Defendant was adequately informed of his Miranda rights when Agent Coad read them

to Defendant from the Miranda waiver form. Nonetheless, Defendant did not sign the Miranda

waiver form or otherwise waive his rights immediately after this advice. Instead, Defendant asked

Agent Coad about how much jail time he faced:

        Defendant:      “How much . . . how long will I gonna do in jail?

        Agent Coad: . . . if you want some consideration for your information, like I can
                    tell the prosecutor, hey you were straightforward, you gave up
                    everything, you told me about this, you told me about that, you told




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                        me about this.8

        However, Agent Coad next stated:

        Agent Coad: . . . Now we just gotta worry about saving your ass. And if you want
                    to do the time, dude tell me you want to talk to a lawyer and I’ll do
                    this thing. That’s fine.

        Defendant:      I don’t want to do no time man.

        Agent Coad: I’m telling you man, if you want to do less time, talk to me and we
                    will see what is going on and we will go from there.

        Defendant:      I want to talk to you.

        Promising or suggesting that incriminating statements will result in a lower sentence suffers

 the same problems as suggesting that “honesty wouldn’t hurt.” Hart, 323 F.3d at 894. Agent Coad’s

 statements “suggested to [Defendant] that an incriminating statement would not have detrimental

 consequences while [his reading of Defendant’s Miranda rights] suggested (correctly) that an

 incriminating statement would be presented at [Defendant’s] trial as evidence of his guilt.” Id. Not

 only did Agent Coad represent that Defendant’s statements would do him no harm; he stated that if

 Defendant wanted to serve less jail time, he should talk with Agent Coad.9 On the facts, this case



        8
          There is no question that Agent Coad was permitted to assure Defendant that the former
 would “tell the prosecutor” about the latter’s cooperation. See Williams v. Johnson, 845 F.2d 906,
 909 (11th Cir. 1988). Had Defendant waived his Miranda rights at this point, the totality of the
 circumstances would weigh in favor of finding the waiver valid. However, that is not the case here.
        9
          Although Agent Coad did not go so far as to promise Defendant a fixed reduction in his
 sentence in exchange for waiving Defendant’s Miranda rights, a reasonable inference is that
 Defendant signed the waiver because of the agent’s promise of leniency. Cf. United States v.
 Sweetenburg, 186 F. App’x 879, 883 (11th Cir. 2006) (per curiam) (finding wavier valid where
 defendant was not threatened during interview and agent “promised to tell the prosecutor if
 Defendant cooperated but did not promise leniency”); Williams v. Johnson, 845 F.2d 906, 909 (11th
 Cir. 1988) (finding confession voluntary where agent “did not promise leniency”).


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 is closer to Hart than to Quinn. Although Defendant initiated the discussion about how much time

 he faced, his question preceded his agreement to talk with Agent Coad and it preceded any

 inculpatory statements.10 The immediacy of his agreeing to talk with Agent Coad after Agent Coad

 stated that “...if you want to do less time, talk to me...” demonstrates that Agent Coad’s statement

 played a material role in Defendant’s decision to waive his rights. While Defendant’s age,

 intelligence, and criminal background certainly made him capable of comprehending his Miranda

 rights and Defendant did sign a written Miranda waiver, the totality of circumstances fails to meet

 the Government’s burden of demonstrating by a preponderance of evidence that Defendant’s waiver

 of those rights was knowing and intelligent.11        However, the Government has sufficiently

 demonstrated that Defendant’s statements were not coerced but rather voluntary. There was no

 physical or mental coercion which accompanied Agent’s Coads statements to Defendant about the

 consequences of waiving his rights. Accordingly, Defendant’s statements during his interview with


        10
          This case is further distinguishable from United States v. Graham, No. 08-14434, 2009 WL
 1040133, at *7 (11th Cir. Apr. 20, 2009) (per curiam), where the defendant “came forward and
 wanted to cooperate, even before the officers asked him any questions.” Defendant decided to
 cooperate in this case only after Agent Coad talked to him.
        11
            See e.g. United States v. Liu, Criminal No. 08-15 (ADM/FLN), 2008 WL 1994977, at
 *16-17 (D. Minn. Apr. 7, 2008) (finding statement was not voluntary because promising that
 Miranda waiver would allow defendant to avoid spending the night in jail was equivalent to
 threatening that assertion of Miranda rights would result in confinement); United States v. Pinto, 671
 F. Supp 41, 59 (D. Me. 1987) (“The implied promise of nonimprisonment or nonprosecution in
 exchange for cooperation...made by a police officer without the authority (or, apparently, the
 intention) to make good on such a promise, effectively prevented defendant from obtaining a correct
 understanding of his Miranda rights and the implications of a decision to cooperate.”); but see United
 States v. Kilgore, 58 F. 3d 350, 353 (8th Cir. 1995) (refusing to suppress statements where
 interviewers promised defendant he “would not go to jail that evening” because promise of leniency
 would not alone render confession involuntary); United States v. Mastera, No. Crim. 04-50-P-S,
 2004 WL 1770139, at *3 (D. Me. Aug. 6, 2004) (reasoning, where defendant was allegedly
 threatened with jail if he did not write out a statement, that defendant’s familiarity with criminal
 justice system undermined claim that he believed making statement would avoid prosecution).

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 Agent Coad on September 17, 2008, as well as the subsequent statements obtained by Agent Hanes

 and Detective Lazzara, may not be admitted at trial to establish Defendant’s guilt.12 Whether the

 statements can be used for impeachment purposes is a separate issue. See Michigan v. Harvey, 494

 U.S. 344, 351 (1990) (“We have mandated the exclusion of reliable and probative evidence for all

 purposes only when it is derived from involuntary statements.”).

 II. Pre-Presentment Delay

         In addition to arguing that his waiver of Miranda rights was invalid, Defendant contends that

 his statements to law enforcement should be suppressed because he was held in custody for

 approximately twenty-four hours before his presentment to a United States Magistrate Judge (Dkt.

 58 at 3). This issue is moot due to the foregoing analysis. However, the court finds it appropriate

 to address this issue in the alternative.

         The requirement “that the police must with reasonable promptness show legal cause for

 detaining arrested persons, constitutes an important safeguard - not only in assuring protection for

 the innocent but also in securing conviction of the guilty by methods that commend themselves to

 a progressive and self-confident society.” McNabb v. United States, 318 U.S. 332, 343 (1943). “A

 person making an arrest within the United States must take the defendant without unnecessary delay

 before a magistrate judge, or before a state or local judicial officer as Rule 5(c) provides, unless a

 statute provides otherwise.” Rule 5(a)(1)(A), Fed. R. Crim. P.; see Corley v. United States, 129 S.

 Ct. 1558, 1562-63 (2009). A delay in presentment is not necessary merely because it might present


         12
          At the evidentiary hearing, the Government focused solely on the recorded interview with
 the Defendant and Agent Coad; however, the testimony indicated that the interviews with the other
 two agents followed that of Agent Coad’s. The Government has not suggested that separate Miranda
 warnings were administered by these agents prior to their interviews of Defendant or that other
 circumstances make the statements Defendant gave these agents independently admissible.

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 law enforcement an opportunity to extract a confession. Mallory v. United States, 354 U.S. 449, 455

 (1957) (holding confession given seven hours after arrest inadmissible where defendant was

 “arrested in the early afternoon and detained at headquarters within the vicinity of numerous

 committing magistrates”). This rule “generally render[s] inadmissible confessions made during

 periods of detention that violat[e] the prompt presentment requirement of Rule 5(a).” Corley, 129

 S. Ct. at 1563 (citation and internal quotation marks omitted).

         Congress has limited the effect of this rule with respect to confessions obtained within six

 hours of arrest. In such instances, a confession is admissible, subject to the Federal Rules of

 Evidence, “so long as it was ‘made voluntarily and ... the weight to be given [it] is left to the jury.’”

 Corley, 129 S. Ct. at 1571 (quoting 18 U.S.C. § 3501(c) (1990)).13 “If the confession occurred

 before presentment and beyond six hours, however, the court must decide whether delaying that long

 was unreasonable or unnecessary under the McNabb-Mallory cases, and if it was, the confession is

 to be suppressed.” Id.

         Here, Defendant was arrested sometime after 1:00 p.m. and the interviews at issue were

 completed by 5:00 p.m. Clearly, Defendant’s confession was obtained within the six-hour period


         13
            Pursuant to 18 U.S.C. § 3501(c), “[i]n any criminal prosecution by the United States or by
 the District of Columbia, a confession made or given by a person who is a defendant therein, while
 such person was under arrest or other detention in the custody of any law-enforcement officer or
 law-enforcement agency, shall not be inadmissible solely because of delay in bringing such person
 before a magistrate judge or other officer empowered to commit persons charged with offenses
 against the laws of the United States or of the District of Columbia if such confession is found by
 the trial judge to have been made voluntarily and if the weight to be given the confession is left to
 the jury and if such confession was made or given by such person within six hours immediately
 following his arrest or other detention: Provided, That the time limitation contained in this
 subsection shall not apply in any case in which the delay in bringing such person before such
 magistrate judge or other officer beyond such six-hour period is found by the trial judge to be
 reasonable considering the means of transportation and the distance to be traveled to the nearest
 available such magistrate judge or other officer.”

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 prescribed by § 3501(c) and is thus not inadmissible solely due to the delay in presenting Defendant

 before a United States Magistrate Judge. Nonetheless, § 3501 does not excuse the requirement that

 a waiver of Miranda rights must be voluntary, knowing, and intelligent. See Dickerson v. United

 States, 530 U.S. 428, 444 (2000). Accordingly, Defendant’s statements are inadmissible despite the

 provisions of § 3501.

                                            Conclusion

        In light of the totality of the circumstances surrounding Agent Coad’s interview of

 Defendant, Defendant’s waiver of his Miranda rights, while voluntary, was not knowing and

 intelligent. Agent Coad adequately informed Defendant of his Miranda rights but subsequently

 provided misleading advice concerning Defendant’s waiver of rights. Accordingly, Defendant’s

 statements during his interviews with Agent Coad, Agent Hanes, and Detective Lazzara on

 September 17, 2008 should not be admissible at trial to establish Defendant’s guilt.

        Accordingly and upon consideration, it is RECOMMENDED that:

        (1)     Defendant George Augustus’ Motion to Suppress Statements and Request for

                Evidentiary Hearing (Dkt. 58) be GRANTED.

 Date: May 14, 2009




                                     NOTICE TO PARTIES

        Failure to file written objections to the proposed findings and recommendations contained

 in this report within ten (10) days from the date of this service shall bar an aggrieved party from

 attacking the factual findings on appeal. See 28 U.S.C. § 636(b)(1).

        Any party objecting to the report and recommendation shall file a copy of the transcript


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 of the evidentiary hearing.




                                      15
